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               UNITED STATES COURT OF INTERNATIONAL TRADE

THE STATE OF OREGON, THE STATE OF
ARIZONA, THE STATE OF COLORADO, THE
STATE OF CONNECTICUT, THE STATE OF
DELAWARE, THE STATE OF ILLINOIS, THE
STATE OF MAINE, THE STATE OF                           Court No. 25-00077
MINNESOTA, THE STATE OF NEVADA, THE
STATE OF NEW MEXICO, THE STATE OF
NEW YORK, and THE STATE OF VERMONT,

                          Plaintiffs,

                   v.

DONALD J. TRUMP, in his capacity as
President of the United States; DEPARTMENT
OF HOMELAND SECURITY; KRISTI NOEM, in
her official capacity as Secretary of the
Department of Homeland Security; UNITED
STATES CUSTOMS AND BORDER
PROTECTION; PETER R. FLORES, in his
official capacity as Acting Commissioner for
U.S. Customs and Border Protection; and THE
UNITED STATES,

                          Defendants.


                               ORDER OF ASSIGNMENT


      Pursuant to 28 U.S.C. §§ 253(c) and 255 and Rule 77(e) of the Rules of this Court,

the above-entitled action is assigned to a three-judge panel consisting of Judge Gary S.

Katzmann, Judge Timothy M. Reif, and Judge Jane A. Restani.


                                                    /s/ Mark A. Barnett
                                                      Mark A. Barnett
                                                      Chief Judge


DATED: April 24, 2025
